Case 1:25-cv-00339-JDB   Document 80-28   Filed 04/18/25   Page 1 of 5




            EXHIBIT 26
        Case 1:25-cv-00339-JDB         Document 80-28         Filed 04/18/25     Page 2 of 5




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 AFL-CIO, et al.,

 Plaintiffs,

 v.                                              Case No. 1:25-cv-00339

 DEPARTMENT OF LABOR, et al.,


 Defendants.




                          DECLARATION OF ALEX VAN SCHAICK

I, John Alexander “Alex” van Schaick, declare as follows:

      1. My name is Alex van Schaick. I am a Counsel at Communications Workers of America

         (“CWA” or “the Union”). I submit this declaration in support of Plaintiffs’ motion for a

         preliminary injunction in this matter. The statements made in this declaration are based

         on my personal knowledge, materials I have reviewed, and information made available to

         me pursuant to my duties at CWA.

      2. CWA is an international labor union, headquartered in Washington, D.C., with hundreds

         of thousands of members in a broad range of industries, including telecommunications,

         cable, information technology, airline, manufacturing, print and broadcast news media,

         customer service, education, public service, and health care, among others.

      3. CWA works to improve the conditions of workers and to advance their interests by

         advocating for legislation that benefits them, negotiating fair contracts, minimizing
  Case 1:25-cv-00339-JDB          Document 80-28         Filed 04/18/25      Page 3 of 5




   member exposure to hazardous working conditions and related injuries, and fighting for

   policies and laws that promote investment in good quality, union jobs.

4. Over 60,000 of CWA’s members are retired workers who remain CWA members.

   Through CWA’s Retired Members Council, retiree members monitor company pension

   and health care policies, track national legislation affecting CWA retired members, and

   monitor legislation at the local, state, and federal level to advance their goals and

   interests.

5. CWA has long worked to improve the lives of its retiree members by working to

   strengthen Medicare, unemployment insurance, and other social insurance programs. For

   example, CWA has mobilized against cuts to the privatization of Medicare and staged

   rallies to raise awareness about proposed cuts to Medicare. CWA has also supported

   legislation that would allow striking workers to obtain unemployment insurance.

6. CWA also works to protect the private information of its members. For example, CWA

   has advocated to hold Facebook accountable for its privacy breaches; bargained to

   include privacy protections in its agreements, including limits on the use of web cameras

   when call center workers work from home; educated its members about their privacy

   rights at work; and advocated for policies to provide privacy protections to internet users.

7. I am aware of CWA members who participate in Medicare, which is administered by the

   Centers for Medicare and Medicaid Services (CMS), housed within the Department of

   Health and Human Services (HHS). These include many of CWA’s retiree members.

8. I am aware that the sensitive information of these and other CWA members is contained

   in HHS record systems, including Social Security numbers and sensitive health

   information as a result of their participation in Medicare.
  Case 1:25-cv-00339-JDB          Document 80-28         Filed 04/18/25     Page 4 of 5




9. I am aware of CWA members who have filed for unemployment insurance (UI) benefits

   within the past three years.

10. I am aware that the sensitive information of these and other CWA members is contained

   in DOL record systems, including Social Security numbers and bank account

   information, because they have filed for UI.

11. I am aware that personnel from the Department of Government Efficiency (DOGE) have

   accessed sensitive information at DOL and HHS, including private health records and UI

   records.

12. I am not aware of any CWA member who has requested or authorized DOGE or its

   representatives to access their personal data or who has consented to the use of this data

   for any purposes previously disclosed by DOL or HHS.

13. The member data shared with DOGE at DOL and HHS is highly sensitive. CWA

   members were injured by the release of their data to DOGE personnel as soon as those

   personnel gained access to it. That injury continues and will persist until DOGE access is

   halted.

14. The continuing injury to CWA members by the release of sensitive data to DOGE is

   compounded by the related increase in risk that this information will be stolen or misused

   by outside parties who can now gain access to less-protected data. As soon as

   uncredentialed DOGE personnel accessed this data, it was compromised, making CWA

   members easier targets for scam and identity theft.

15. If DOGE is accessing this data for the purpose of identifying “waste” and “fraud,” it may

   also mean that CWA members have had essential benefits incorrectly or inadvertently
      Case 1:25-cv-00339-JDB           Document 80-28        Filed 04/18/25      Page 5 of 5




       disclosed, as DOGE personnel are not equipped to understand the complex systems at

       DOL and HHS.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 18, 2025, in Washington, D.C.




                                                              Alex van Schaick
